Case 3:14-cv-02970-X Document 1069 Filed 07/14/21            Page 1 of 1 PageID 55052



                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

  DAVID M CLAPPER, et. al.,                    §
                                               §
         Plaintiffs,                           §
                                               §
  v.                                           §   Civil Action No. 3:14-CV-02970-X
                                               §
  AMERICAN REALTY INVESTORS,                   §
  INC., et. al.,                               §
                                               §
         Defendants.


                                FINAL JUDGMENT

       This civil action was tried to a jury beginning on May 5, 2021. On May 20,

2021 the jury returned a verdict in favor of the defendants. By separate order, the

Court has granted the defendants’ motion for judgment based on the verdict.

Therefore, the Court ORDERS, ADJUDGES, and DECREES that this civil action

is DISMISSED WITH PREJUDICE.

       All relief not expressly granted is denied. This is a final judgment.


       IT IS SO ORDERED this 14th day of July, 2021.




                                       BRANTLEY STARR
                                       UNITED STATES DISTRICT JUDGE




                                           1
